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                                   United States District Court
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                                   Eastern District Gf Missouri
    United States of America
    Plaintiff
                                                                   Case Number
    v.                  RECEIVED                                   4:16-CR-00106-RLW

                          JAN 2 .2 2021
    James Bowen
    Defendant, Pro Se    BY MAil

                         Second supplement to Exigent and Emergent motion


          James Bowen tenders this motion to include information to this matter, previously
    unavailable, which bears great significance and relevance for this court's consideration.
          Bowen has experienced a series of medical conditions and maladies that have
    significantly affected his ability to walk, think, or to provide himself with basic
    means of self care, over the past couple of years.     Recently, after experiencing
    yet another of his fainting spells and loss of consciousness, Bowen was seen by
    Forrest City medical staff and scheduled for further examination at an off-site
    hospital.
          On    12/28/20, Bowen was taken to the Forrest City Medical Center where he was
    given a series of examinations including a CAT scan.     While the physician's found
    no serious abnormalities with his heart functioning, the attending physician discovered:


             "[A] rather large cancerous tumor on[your] left lung, right next to
          your heart, and there are numerous smaller tumors surrounding it which
          indicate [the cancer] is starting to spread."


          The emergency room physician contacted the prison and directed Ms. Yates, of
    Health Services, to seek further treatment for Bowen's cancer through a local Oncologist.
    The medical records and DVD of the hospital's CAT scan have been given to the prison.

    Bowen asks that this court include his cancer as part of its RIS considerations.
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I.       1be internal ~tions done by the DOJ-OIG in conjunction with the press
      coverage of the BOP s handling of the pandemic could not be Dllre clear, the
      BOP has not stopped the outbreak, and are ill-equipped to handle this crisis.



      A recent and subsequent review of the DOJ-OIG report was made by national
officials.   Negative insight into the BOP's overall ability to protect or provide
treatment to staff and prisoners proved to be staggering.   The overwhelming consensus
to the investigative findings at FCI Lompoc was that the same or similar circumstances
exist wtih similar conditions at all BOP facilities.   This is because the precautionary
phases and plans used by the BOP have been implemented across the BOP's system of
prison facilities.


          "The recent Office of Inspector General Report made clear the BOP's
     response to slowing the spread of COVID-19 at FCI Lompoc was hampered
     by understaffing of medical personnel ..• something one would think would
     have been part of phase one planning in January. Another thing that continues
     to be lacking in the BOP's plan is a testing protocol for both inmates
     and staff. If inmates show signs of COVID-19, they might be tested ..• they
     might not. If they were exposed to a positive .staff member or another
     inmate, they might be tested •.. they might not. If an inmate has a high
     fever, he/she will be isolated for sure but they may not be tested but
     instead assumed to be positive. Members of the staff? According to a
     June 2020 Senate testimony from Jeffery Allen M.D., BOP Medical Director,
     said that the BOP does not test employees as doing so would limit the
     medical staff's ability to provide healthcare to the inmates. In those
     select prisons where there has been widespread testing, the number of
     positive results were staggering."


(www.forbes.com/sites/walterpavlo/2020/08/07as-bureau-of-prisons-enters-phase-9-
of-covid-19-plan-bop-staff-wonder-if-there-is-a-real-plan-#77ca6b68326f (last visited
9/01/20)).
      It is the BOP's rote handling of the COVID-19 epidemic that is so dangerous
to prisoners lives.   One recent court of appeals decision found this practice tobe
appalling that it chose to biroaden the expansive authority given to the courts
allowing them to determine, on their own, what factors and conditions constitute
extraordinary and compelling reasons justifying relief.
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a.    'This recent court decision has set forth at least one additional standard
for relief when it can be shown that the BOP cannot or will not protect those prisoners
under its custodianship.    (United States v. Zullo 19-3218 2nd Cir. 2020).
      'The court found Congress·. never defined what is "extraordinary and compelling"
under the FIRST STEP ACT.   It further discovered that the Untied States Sentencing
Cormnission never amended their-guidelines after passage of the FIRST STEP ACT because
they do not have a quorum of voting members to change them.     Given this, it realized
that individual courts faced with the same types of claims have determined that
the Commission lacks an applicable-policy statement regarding when a court cari grant

a compassionate release and that there has been significant movement within these
other courts in correcting this problem.
      Once such significant ruling opined that the mere possibility of contracting

a cormnunicable disease, such as COVID-19, could constitute an extraordinary or
compelling reason justifying release if the defendant could show the prison (BOP)
will not or cannot guard against or treat such a disease.     (seeUnite:i States v.
Korn, 2020 WL 1808213 at-6 (W.D.N.Y. April 9, 2020); also United States v. Carver
2020 WL 1892340 (E.D. Wash. April 8, 2020).
      In finding recognition of the BOP's unwillingness or inability to guard or
treat those under its care, these courts have now established that the reviewing
district court can determine whether any extraordinary and compelling reasons, other

than those delineated in USSG 1B1.13 A-C warrant granting relief and that this independent
determination is authorized pursuant to the sentencing Commission's application
note l(D) better known as the 'catch-all' provision.

      The issues presented before this court today support a finding consistent
with this judicial trend.
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II.        Tue FIRSf SfEP ACT does. not impose constraints on what a court may consider
        in modifying a sentence.                                                      ·



        A defendant's good behavior and produftive conduct that occurred after an
offense is material and relevant to aOOllJt's overall determination in modifying

a sentece once it is imposed .. 18 U.S.C. § 3582 (c)(1)(B), which depends on the
statute authorizing the reduction, has no limitations per se under the FIRST STEP
ACT.    It is therefore important and necessary that this court consider and adopt
the most recent information and formal evaluation of a defendant's conduct instead
of relying solely upon a defendant's PSR which may well be years or decades old
and may not adequately reflect his current condition.
        Since it is necessary for a court to consider a person's history and conduct
in crafting a sentence, section 404's silence regarding the standard the courts
should use in determining to reduce a sentence cannot be read to limit the information
that courts may consider unlike the constraints f[{5tllnd in§§ 3582(c)(1)(A) and (c)(2).
In a recent opinion by District Court Judge Christopher Boyko of the United States
District Court for the Northern District of Ohio, his honor said;


          "It would be inappropriate to impute the substantive standards contained
       in§§ 3582(c)(1)(A) and (c)(2) to§ 3582(c)(1)(B) or to draw a negative
       inference from the fact that§ 3582(c)(1)(B) does not contain any substantive
       standard."


       In other words, just because§ 3582(c)(1)(B) doesn't say that courts can use
the§ 3553(a) factors, does not mean a court cannot do so.     This holding is consistent
with the Supreme Court's decision in Pepper v. United States (562 U.S. 476, 2011)
which held that courts may consider post-sentencing conduct under the§ 3553(a)
factors when resentencing during a§ 3582(c)(1)(B) sentence modification proceeding.
       This petitioner asks this honorable court to give weighty consideration to
his DOJ-BOP conduct record, education history, and employment service history for
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time spent from his incarceration date.     In reviewing these records this court shall
find supportive, fact-based justification for a finding that defendant is not only
productive and compliant with the rules of his carceral environment, but that he
is also a trustworthy model candidate for post-carceral supervision by this court.



III.      The current medical isolation and quarantine confinement practices at FCI
        Forrest City are harmful and dangerous per se.



        The prison's current practice of medical quarantine for coronavirus infected
prisoners is to mass confine groups of similarly infected persons in housing units

of 160 or more.    Th.is regime serves .as the greatest vector for reinfection of prisoners
by exposure to each other and serves as an outlet of corrnnunity transmission through
the prison. staff who must work amongst the herds of these confined persons.

        A recent study by David H. Cloud, J .D., M.P .H. et alia also discovered that
this practice under COVID-19 conditions causes more harm than previously realized.
Social isolation, lack of programming and exercise, physical idleness, and other

forms of sensory deprivations under this type of quarantine leads to immense psycho-
logical suffering and lasting trauma.     Cloud reports this leads to a greater likelihood

of self-harm, violence, and suicide, even after only relatively short periods of

time.    But even if a prisoner did not suffer this extreme, there are other passive
self-harming activities that are even more prevalent.
        Nearly all FCI Forrest City prisoners are reluctant to report symptoms to
medical staff for fear of being placed in solitary or near solitary confinement
under primitively punitive conditions.    Th.is is so because the prison offers no
treatment for Coronavirus sickness, only monitoring.     Prisoners are made to rely
on the commissary for their pharmaceuticals and access to that is reigned back to
once every 3 weeks.    To make matters worse, pharmaceuticals may only be purchased

in minor quantities lasting only several days and causing each anguished prisoner
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to endure an insufferable wait until his next shopping day.                    Of course, since there
are no inmate jobs to pay for medications this complication only applies to prisoners
whose family provides them with funds to buy the high priced commissary OTC medications.
          Prisoners have found the punishment they receive for self-reporting to be
undesireable.           Better to remain in a crowded, infected group where prisoners could
share medications that to be placed in a concrete warehouse without access to these

basic necessities where there will be no treatment provided to them anyway.


      On or about October, 2020 the BOP has reported the Forrest City prison to

be 'recovered' and initiated the reinstitution of visitation activities to prisoners

and their families effective October 3, 2020.                    What is not reported is that the
interior of the prison remains on lockdown/quarantine status and the CDC's medical

tents are left standing for use.                    The hot water has been turned off beginning 9/14/20
and prisoners have been offered a hot shower only once-, on 10/01/20, until 10/20/20
when inmate complaints overwhelmed the prison administration to turn the hot water

back on.      During this time period, most prisoners opted to forego their showers
and hygiene and have resolved themselves to a fate they are unable to overcome due
to this series of neglect when guards and staff concern themselves with their families
and their own interests, considering prisoners to be only a tertiary transient concern.


IV.     Current medical science shows that reinfection by Coronavirus is not only
      possible, but likely.
      -       • ;   1    !_   .,   :.   •   •   !
          ;




      The BOP has recently instituted a practice of prisoner transfers between
infected prisons and has standardized a practice of cormnunally housing prisoners
under a theory they will develop herd irmnunity.                  The danger posed to prisoners under
this regime cannot be overstated in light of recent science showing recovered
Coronavirus patients can become reinfected.                    (report by Erika Edwards and Akshay
Syal, "COVID-19 reinfection reported in Nevada patient" 8/28/20; see also Kai Kupfer-
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schmidt, "Some people can get the pandemic virus twice." study suggests (Aug. 24,
2020), sciencemag.org/news/2020/08.
         The current state of affairs within the BOP is akin to playing Russian Roulette
with prisoner's lives.     Without offering care and treatment for the disease and

its promotional efforts to propagate the transmission of COVID-19 internally, the
BOP is advancing a scheme to directly and indirectly infect prisoners that is substantive}
unconscionable.     Not only has this practice been recognized and denounced by the

National OSHA board, the DOJ-OIG, and the prison guard's union, but should be recognized
by this court as an unconstitutional, illicit attempt to sufficiently increase the
severity of each prisoner'ssenten::e    beyond what was originally anticipated.    Executive

lawmaking and imposition by decree violate the constitutional separation of powers·
doctrine and, in this case, pose significant 8th Amendment transgressions warranting

correction and relief.     If allowed to continue, resentencing by this court to include

these novel exposure conditions as part of its sentencing consideration may soon
become a forced trend to compensate for the BOP's wrongful practices.


V.         An asymptomatic Coronavirus patient is not unaffected by roVID-19, but
        rather often suffers persistent, long-term disabling health problems.


         Symptomatic presentations serve as indicators to the various areas of the
body being affected by the Coronavirus disease.      But, recent research reveals a
category of patients who suffer slow developing, long-term neurological, respiratory,
and cardiological degeneration.     These patients are referred to as Covid 'long-haulers'
and have been shown to suffer extreme forms of disability and death even after
supposedly recovering from the initial infection.
        The BOP has recently experience this phenomena after having 4 separate p~isoners
die from COVID-19 just 1-3 weeks after prison medical staff have declared them to
be recovered •
     .· . ·On q~ about. 9/20/20 at FCI Edgefield, Barry Johnson was declared recovered
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from his Coronavirus disease using the BOP's time-lapse recovery criterion.        Soon
after, he experienced physical problems including confusion and trouble breathing.
The prison declared him stable and attributed his difficulties to non-COVID reasons.
But, just one week later, Johnson died at a local hospital due to his Coronavirus
related injuries.   In June of 2020.at FMC Lexington inmate Tom Krebs was declared
recovered.   However, on 9/17/20, Krebs was declared dead at a local hospital due

to his COVID-19 infection.    On   or about 9/12/20 Ricky Miller at FCI Butner was pronounced
dead due to COVID-19.    His records show he had been declared recovered by the BOP
just 1 month prior in the same manner as the other federal prisoners.       Finally,
on 8/26/20 at the Carswell prison in Texas, Marie Neba died at a local hospital
due to her Coronavirus infection.     The BOP's handling of Neba was strongly criticized
by the local hospital staff when staff members discovered Neba was previously declared
recovered yet suffered a severe decrease in her breathing which was largely ignored
by the prison.   It is reported one nurse at the hospital was soootraged that she
took it upon herself to break protocol and allowed Neba to use the nurse's cellphone
to call her children to say goodby shortly before -she died.
      Sadly, these examples demonstrate the BOP's overall handling of this epidemic

is not only beyond their control, but is further complicated by their practice
of non-treatment, reliance on self reporting, and their general refusal to adopt
the effective medical practices necessary to save the lives of those_prisoners whom

they expose to this '.Lethal contagion.     This travesty must be addressed and corrected
by the court.
      Scientists at the Oakridge National Laboratories have explained these types
of deaths as the host body's triggering of a 'Bradykinin' storm in response to the
Coronavirus infection.   This internal reaction interferes with a chemical that regulates
blood pressure and throws respiratory,     gastrointestinal, and neurological pathways
off balance with lethal consequences.       (livescience, the new Coronavirus can infect
brain cells, study finds 9/13/20).       These facts Eh:uld neither be ignored nor dismissed
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as irrelevant.     Prisoners are dying while the BOP' s records attempt to declare entire
prisons recovered with the assistance of an illegitimate, false reporting scheme

of recovery. As recentl:y as·io/26/20 48 prisoners and 1 staff member were discovered
to be infected in yet another outbreak at FCI Forrest City Low.


VI.         A hearing to determine the extent of medical facts and to detennine. present
         dangerousness under§ 3142(g) and§ 3553(a) is warranted at this stage.


         The defendant asks the court to reject the government's position that he has
not demonstrated extraordinary and compelling reasons warranting reduction and that
he remains a danger to the community.     These issues can only independently be determined
by the court through a hearing.     He therefore asks the court to appoint counsel,
brief the issues, and conduct a hearing.     Alternatively, that the court grant his
request for compassionate release.
         Nothing in the law holds United States Sentencing Guidelines as mandatory
post Booker, and since policy statements are not law, this court's independent deter-
mination whether extraordinary and compelling reasons exist is unlimited following
passage of the FIRST STEP ACT.     But, the court must include a hearing to ascertain
the medical validity of defendant's claim as well as the conditional factors which
render the defendant unable or incapable of self-care.


a.      Medical determination.


         In deciding what constitutes extraordinary and compelling reasons for compassionate
release, it is required for the district court to conduct a hearing with regard
to medical issues of fact, based on expert testimony with regard to his medical
conditions, before making a final determination, expecially one denying relief to
the defendant.     A hearing is required because claims asserting medical facts ultimately
ask the court to put itself in the difficult position of making a medical assessment
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it is simply not qualified to make. •However, at a hearing after being fully briefed
by competent counsel and having heard expert medical testimony-ensures fairness
in due process sentencing matters-such as this one.       Absent such a hearing, a court's
disfavorable determination that a medical condition, in combination with an inability
to provide self-care.or to seek and.receive sick call, does not qualify for relief-
is a medical assessment and determination of qualifying medical factors and violative
of the fair hearing process contemplated under§ 3142(g).


b.      Dangerousness and current sentencing factors.



        The court may not reduce a defendant's sentence unless it finds that "the
defendant is not a danger to the safety of any other person or to the community,

as provided in 18 U.S.C. § 3142(g)." This is a pre-trial detention statute that
requires a hearing to determine dangerousness based on several factors(§ 3142(g)(1)-
(4)).    Similarly, a court's resolution of issues under§ 3553(a) obliterates fundamental
fairness without conducting a new hearing on the issues.
        For the court to make an independent assessment of current dangerousness posed
by a defendant without a hearing would deprive a defendant of a fundamentally fair
adversarial process-something due process requires.      Further, any supposed dangerousness
posed by the defendant is extensively mitigated by the far reaching restraints placed
on him by his supervision conditions and by any confines placed by compliance with
State laws governing his post-release conditions.       In fact, it could be logically
and reasonably argued that these significant restraints of liberty upon release
make the defendant much less of a potential or actual threat than the average defendant.
        Under§ 3142(g), current-dangerousness with regard to pre-trial detention
can only be ascertained through an adversarial process at a hearing with both sides
presenting arguments for or against detention.   While§ 3582(c)(1)(A) contemplates
dangerousness under§ 3142(g), this would logically mean 'current' or 'present'
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dangerousness-something that ·can.only be determined in a hearing.                      Without such,
the court takes a backward looking view without considering current circumstances.
It is therefore error for the court to deny compassionate release on the pretense
of current dangerousness without conducting a hearing consisting of input from the

defendant and the government.
      As with a dangerousness determination, current sentencing factors under §3553(a)

must be determined through a hearing.                        Here, the court again errs by looking backwards
at§ 3553(a) factors relevant at sentencing-not currently.                         It is therefore error
for the court to independently conclude§ 3553(a) factors relevant at sentencing
do not justify current sentencing relief, without also looking at current conduct factors.


c.        This court's mercy is rese_rved for instances engendered,by present circumstances·.



      The Department of Justice and the courts have made preparations for relief
by blending humanitarian and equity interests alike.


         "Compassionate relief matters. It matters so that courts may account
     for tragically unforeseeable events, as when an illness or disability
     renders proper care impossible while a defendant remains incarcerated, •..
      It matters too, as present circumstances make clear, when public-health
     calamities threaten inmates with literal death sentences. It matters
     even when no crisis looms, but simply when continued incarceration would
     be "greater than necessary" to achieve the ends of justice. see, e.g.
     United states v. Maumau, 2020 U.S. Dist. LEXIS 28392, 2020 WL 806121 at
     6 (D. Utah Feb. 18, 2020)(compassionate release may be justified even
     l"f "defendant l S not c:,uffo.,..;ng Frnm ~nv
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     limitations")."


     And have also recognized;


        "Notably, the Department of Justice found that "defendants released
     through the compassionate release program are less than a tenth as likely
     to recidivate as the average federal prisoner." United States of America v.
     0sorto LEID:S 82661, 2020 WL 232038 at 5 (N.D. Cal. May 11, 2020)(citing
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      Department of Justice, Office of the Inspector General, The Federal Bureau
      of Prisons' Compassionate Release Program 49-50 (2013)(Inspector General
      Report), Moreover, it has estimated that "broader use of compassionate
      release could save taxpayers millions and free desperately needed space
      in BOP facilities. (citing Inspector General Report at 45-48).


Conclusion


        Continued incarceration with the BOP under their current COVID-19 plan is
lethal in consequence.       The prison at Forrest City, and many others as cited by

OSHA's investigators and DOJ-OIG inspectors, are unwilling to provide medical treatment
to infected prisoners leaving them to self-diagnose and self-report their symptoms
to staff.       The prison's false reporting that inmates have 'recovered' and 'deny'

experiencing symptoms only complicates this matter further.       Perhaps these actions
are taken by the BOP to hide the fact they are unable to contain the virus or isolate
prisoners from its exposure, which accounts for the recent outbreak at Forrest City

Low on 10/26/20.      Truly, this virus has proven it does not discriminate between
staff members and prisoners.       This contagion nationally threatens our surrounding
communities and families and FCI Forrest City serves as an accellerating vector
for its dispersal under its current plan.
        Because the defendant was denied a fundamentally fair adversarial proceeding-
something due process requires, he respectfully asks the court to reconsider his
request for the court to conduct a resentencing hearing to formally include COVID
exposure as part of the new federal sentencing regime or to contemplate the necessity

of compassionate release after being fully informed by competent counsel, the
government, and by experts as their testimony applies materially to the claims
prf!RP.nt.Pd.
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Conclusion


      Bowen has shown that he is no longer safe at the prison for which he is assigned
to serve his term due to the wide swath of deficiencies which exist in tandem with
                                                                  /


the raging C0VID-19 infections.    He has also shown that he is 'high-risk' as his
physical health makes him more susceptible to serious injury or death should he
be infected by the virus.   But even if he weren't, his malignant cancer condition
has likely cut short his life's term, a condition which he would be able to seek
and recieve immediate treatment at one of his local VA facilities.using his VA benefits.
      Bowen's sentence has now become a death-sentence because he is unable to seek
the type of medical care he requires to overcome his cancer and he will be unable
to receive care for any Coronavirus infection he may receive should he additionally
become infected while he has his cancer •
     .Bowen prays this court find he has medically qualified for RIS using the FIRST
STEP ACT's criteria for terminal illness, serious medical conditio~, and extraordinary
and compelling reason, and grant his request for compassionate release.


                                      Verification
      I have read the foregoing' Second supplement motion and hereby verify that
the matters alleged herein are true, except as to matters alleged on information
and belief, and as to those, I believe them to be true and correct. Executed at
Forrest City, Arkansas on this 29th day of December, 2020.
                                                             /s/James Bowen
                                                             Defendant, Pro Se
                                  Certificate of Service
      I certify under the penalty of perjury that the foregoing Second supplement
motion was placed in the prison's internal mail system, postage pre-paid, for service
upon this court via U.S. mail on .this 29th day of December, 2020. Bowen asks this
court's clerk to serve all other interested parties by electronic notification and
to serve him with a stamped filed copy of this motion.
                                                              /s/James Bowen
                                                              James Bowen
                                                              Defendant, Pro Se
